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                      UNITED STATES DISTRICT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA      )
                              )
                              )
v.                            )         Case No. 21-cr-00292-RCL
                              )
CHRISTOPHER WORRELL, et. al., )
                              )
             Defendant        )
                              )




           DEFENDANT’S MOTION TO VACATE TRIAL DATE




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      NOW comes Defendant Christopher Worrell by and through his counsels

of record, William L. Shipley, Esq., and Joe Allen, Esq. respectfully files this

motion to vacate the currently set trial date.

      Attorney Shipley is currently in the second Oath Keeper’s trial which is

expected to continue into the week of January 23, 2023, and with the

anticipation of deliberations to extend into the week of January 30, 2023.

Attorney Shipley is also set for trial in a civil matter in Hawaii Circuit Court,

Paguriagan v. C&C Farmlands, on February 27, 2023, a matter first filed in

2016, and repeatedly continued as a result of COVID.

      Attorney Allen already has several matters on his calendar for the week

of February 13, 2023.

      Attorney Shipley filed a notice of appearance into the above cited case on

November 22, 2022. See EFC. No. 186. Attorney Shipley and Mr. Worrell

understood that Mr. Shipley could enter the case only if the then-pending

November 2022 trial date was continued based on Defendant Worrell’s medical

condition, a motion that was pending at the time. Only after that motion was

granted by this Court, on November 15, 2022, did Mr. Shipley make an

appearance and Attorney Alex Stavrou was asked by Defendant Worrell to

withdraw.

      The Final Pretrial Conference in the second United States v. Stuart

Rhodes case before Judge Mehta took place on November 23, 2022, jury

selection began on December 5, 2022, and opening statements took place on

December 12, 2022.




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      Jurors were told that the case would last approximately six weeks, with a

break for the holidays, and they should plan for the case to take the month of

January, 2023.

      Attorney Shipley was not advised in advance, nor was he aware

immediately when it was filed, that the Government suggested a February 13,

2023, trial date in this case. That date was impossible on Attorney Shipley’s

calendar as he had a trial already set before Judge Cobb of this Court on

February 6, 2023 – United States v. Muntzer. Attorney Shipley was under the

impression that in granting the motion to vacate the trial date, a new trial date

would not be set until Defendant Worrell’s medical care providers determined

that his health condition was stabilized or abated, as the Court ordered

monthly reports be filed in order to track his treatment.

      Mr. Shipley represents approximately 30 January 6 defendants charged

in more than 25 different actions. After the Rhodes/Oathkeeper trial, he

currently has a February 6, 2023 trial before Judge Cobb, noted above.

Because the Rhodes/Oathkeeper case has lasted much longer than

anticipated, a motion to continue the Muntzer trial date will be filed shortly.

      Mr. Shipley has three trials set in February, March, and April the state

and federal courts in Hawaii where he normally practices. Two are civil cases

filed prior to the COVID pandemic which have each been continued numerous

times but are now set on February 27, 2023 (Paguriagan v. C&C Farms, CV 15-

1-1226 Hawaii Circuit Court – filed in 2015), and on March 28, 2023 (Graves v.

S&G Labs Hawaii, 19-cv-310 (LEK) in federal court.




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      Mr. Shipley is also CJA appointed counsel in United States v. Miske, 19-

cr-099, a multi-defendant RICO/homicide case in federal court in Hawaii. That

case is set to start trial on April 17, 2023, with a four-month trial estimate.

      Defendant Worrell made the determination to hire Attorney Shipley due

to his over thirty (30) years of federal criminal trial experience. Due to Attorney

Shipley’s notice of appearance being filed, Attorney Stavrou filed a motion to

withdraw on November 24, 2022. See EFC. No. 187. This Court granted

Attorney Stavrou’s withdraw on January 5, 2023 allowing Attorney Shipley to

take over in his place. See Minute Order 1/4/2023.

      Attorney Shipley has been in trial the entirety of the time since taking on

the representation of Defendant Worrell, and has had no time to review any

discovery or the facts of the case. As such, Attorney Shipley cannot be ready to

provide effective representation of Defendant Worrell between the end of his

current trial and the February 13, 2023, trial date suggested by the

Government.

      Undersigned will confer with government counsel regarding potential

dates for trial and motions.



Dated: January 9, 2023                Respectfully submitted,

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